Case: 4:07-cr-00399-JCH   Doc. #: 166 Filed: 12/12/08   Page: 1 of 7 PageID #:
                                     728
Case: 4:07-cr-00399-JCH   Doc. #: 166 Filed: 12/12/08   Page: 2 of 7 PageID #:
                                     729
Case: 4:07-cr-00399-JCH   Doc. #: 166 Filed: 12/12/08   Page: 3 of 7 PageID #:
                                     730
Case: 4:07-cr-00399-JCH   Doc. #: 166 Filed: 12/12/08   Page: 4 of 7 PageID #:
                                     731
Case: 4:07-cr-00399-JCH   Doc. #: 166 Filed: 12/12/08   Page: 5 of 7 PageID #:
                                     732
Case: 4:07-cr-00399-JCH   Doc. #: 166 Filed: 12/12/08   Page: 6 of 7 PageID #:
                                     733
Case: 4:07-cr-00399-JCH   Doc. #: 166 Filed: 12/12/08   Page: 7 of 7 PageID #:
                                     734
